       Appellate Case: 23-1135                 Document: 109            Date Filed: 01/26/2024             Page: 1
                                       UNITED STATES COURT OF APPEALS
                                                TENTH CIRCUIT
                                             Byron White United States Courthouse
                                                      1823 Stout Street
                                                   Denver, Colorado 80257
                                                       (303) 844-3157

                          Oral Argument Calendar Notice / Acknowledgment Form

                                Matthew N. Drecun
Name:
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Email Address:
                                23-1135
Re:        Case No(s):
                                Griffith v. El Paso County, Colorado, et al.
           Caption:

           Argument Date: 03/19/2024

           Argument Time: 09:00 a.m.                    (Arguing attorneys must report 45 minutes prior thereto)

           Courtroom/Place: University of Denver, Denver, CO

I acknowledge receipt of the court’s calendar notice assigning the subject case(s) for:
Oral argument to be held in person before the court.

      I am substitute counsel who will appear in place of                                , who previously filed an
      acknowledgment form.

✔ I am appearing on behalf of:                 Other counsel will appear on behalf of:

 United States of America                                                      (name of party) the Amicus/Amici Curiae

                                          s/ Matthew N. Drecun
           Signed (Recipient)
                                          01/26/2024
           Date

PLEASE NOTE:
If you have not previously registered as an ECF filer and have not filed an entry of appearance form in the
referenced appeal, you must do both before filing this acknowledgment form.

This form must be completed and electronically returned through ECF by the arguing attorney in the appeal set
within ten days. Counsel for amicus/amici curiae do not present oral argument without written permission by the
court.

When filing the Calendar Acknowledgment Form in ECF, please read instructions. Do not deselect attorneys who
have already filed their form unless it is a one-for-one substitution representing the same party.

The Custody Status Form must be filed by counsel for the defendant in a direct criminal appeal (including
interlocutory appeals, regardless of which party filed the appeal), counsel for the petitioner in a habeas corpus or
immigration appeal, or counsel for any appellant or appellee who is in custody in any other appeal. This form must
be filed even if the case has been submitted on the briefs. If the party is pro se, the form need not be submitted.

Questions may be directed to the 10th Circuit Calendar Team at 303.335.2708 or contact by email
at 10th_Circuit_Calteam@ca10.uscourts.gov.                                                                   Rev. 11/2023
